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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

ARMANDO JUVERA                                                                      PETITIONER

V.                                     4:04CR00147-09-WRW
                                        4:07CV00889-WRW

UNITED STATES OF AMERICA                                                         RESPONDENT

                                              ORDER

       Pending is Petitioner’s Motions to Vacate Under 28 U.S.C. § 2255 (Doc. No. 596).

       I.      BACKGROUND

       On March 24, 2006, Petitioner pled guilty to Count 1 of the Information -- knowingly and

intentionally possessing with the intent to distribute more than 100 but less than 400 kilograms of a

mixture and substance containing a detectable amount of marijuana, a violation of

21 U.S.C. §§ 841(a)(1).1 On July 6, 2006, Petitioner was sentenced to sixty (60) months in prison.2

Petitioner did not file an appeal with the Eighth Circuit Court of Appeals.

       II.     DISCUSSION

       There is a one-year statute of limitations for actions brought under 28 U.S.C. § 2255.3 Since

Petitioner did not file an appeal with the Eighth Circuit Court of Appeals, his one-year period to file




       1
        Doc. No. 414.
       2
        Doc. No. 487.
       3
        28 U.S.C. § 2255, ¶6.

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a § 2255 motion began on July 16, 20064 and expired on July 16, 2007. Petitioner’s motion is dated

September 24, 2007.5

        Petitioner admits that his motion “is in excess of the statutory period” for filing a habeas

petition, but blames this delay on “his inability to read, write, and speak English and his lack of

understanding of the U.S. Criminal System,” and on not having effective counsel.6 Neither excuse,

without more, is sufficient to warrant equitable tolling of the statute of limitations.7

                                            CONCLUSION

       Since it was filed after the expiration of limitations provisions of § 2255, Petitioner’s

Motions to Vacate Under 28 U.S.C. § 2255 (Doc. No. 596) is DENIED.

       IT IS SO ORDERED this 15th day of October, 2007.




                                                     /s/Wm. R. Wilson, Jr.
                                               UNITED STATES DISTRICT JUDGE




       4
        Unappealed federal criminal judgments become final when the time for filing a direct
appeal expires. See Moshier v. United States, 402 F.3d 116, 118 (2d Cir. 2005).
       5
        Doc. No. 596.
       6
        Id.
       7
        See United States v. Martin, 408 F.3d 1089 (8th Cir. 2005).

                                                    2
